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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer
                                                                   Index No. 20-CV-8924(CM)(GWG)
2020 Demonstrations


------------------------------------------------------------- x



   PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL




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Dated: July 21, 2022
       New York, N.Y.
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                                            Introduction

        Plaintiffs move the Court to conduct an in camera review of, and release with appropriate

redactions, certain documents relating to an internal after-action review process the NYPD

conducted in the aftermath of the George Floyd protests. Defendants have withheld these

documents in their entirety based on the deliberative process privilege. Deliberative process is a

qualified privilege that must cede to Plaintiffs’ significant need for these materials on an issue vital

to the case – namely, Defendants’ violent and unlawful response to widespread protests against

the police and how official actions and inactions contributed to that response. Moreover, even if

the qualified privilege is not per se overcome, Defendants’ own description of the documents

indicate that they contain highly relevant, non-privileged material and Defendants have not

established that privileged and non-privileged portions of these documents are inextricably

intertwined. Accordingly, in camera review and release is appropriate.


                                        Factual Background

        At the end of June 2020, as protests sparked by the death of George Floyd and the NYPD’s

brutal response to those protests continued to roil the City, NYPD Commissioner Dermot Shea

tasked Assistant Chief Thomas Conforti, the Commanding Officer of the NYPD Operations

Bureau and the former Executive Officer of the Training Bureau, with conducting an after-action

review and “drafting a report reviewing the police response to those protests.” Exhibit 1

(Affirmation of Thomas Conforti (April 19, 2022) (hereinafter, “First Conforti Aff.”) ¶ 5). This

process “reviewed the police response to protests” that occurred between May 25 and June 30,

2020, including by analyzing “statistical data and other information provided” by a range of

documents and conducting interviews of approximately 100 members of the NYPD. Id. ¶¶ 6-8.

Those interview notes were memorialized in real time in the working draft of the report kept by



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Chief Conforti. Id. ¶¶ 8-9. Chief Conforti completed a draft report of “approximately 46 pages in

all.” Id. ¶ 6. Some of the recommendations in the report were adopted by the NYPD “in real-time”

as Chief Conforti continued to revise his draft. Id. ¶¶ 11-12.

        On September 29, 2020, Chief Conforti presented his findings to a presently unknown

group of high-level NYPD officials. Exhibit 2 (June 24 Conforti Privilege Log at 11, Document

26). Communications were prepared to transmit the report to Mayor Bill de Blasio, among others.

Id.at 14 (Document 32). At some subsequent point, however, a decision was taken within NYPD

leadership that the report would not be published or released to the public. Ex. 1 (Conforti Aff. ¶

16.)

        A central contention of the Plaintiffs’ claims is that the NYPD systematically fails to learn

the lessons of its pattern of abusive and unconstitutional policing of protests, in particularly by

failing to competently perform after-action reviews. See, e.g., People v. City of New York, 21-CV-

322, First Amended Complaint ¶ 77 (ECF 51) (citing the New York City Law Department’s own

conclusion that the NYPD’s failure to conduct protest-related after-action reviews between the

2004 RNC protests and the 2020 Racial Justice Protests contributed to the constitutional violations

found during the latter). Plaintiffs therefore sought discovery on Defendants’ after-action report

of the protests.

         On April 12, 2022, the Court denied Plaintiffs’ prior motion seeking production of all

documents related to the Chief Conforti’s after-action review, reasoning that Plaintiffs had not

established waiver of the privilege despite the belated and inadequate nature of the Defendants’

first two privilege logs relating to this issue. ECF 463, 481, 484, 497. 1 Following the Court’s

instruction to Defendants to provide a “beefed up” privilege log and an affidavit from Chief


1
  The procedural history of the parties’ discovery dispute prior to the Court’s April 12 order is not directly
relevant to this motion, but is memorialized in Plaintiffs letter motion of March 25, 2022 (ECF 463).


                                                      2
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Conforti, see Tr. (April 12, 2022) at 85:17-86:2, Defendants produced a revised privilege log on

April 19, 2022, listing 39 separate documents withheld in their entirety, along with an affirmation

from Chief Conforti. Exhibit 3 (April 19 Conforti Privilege Log); Exhibit 1 (First Conforti Aff.).

       After reviewing this new material, Plaintiffs did not agree that the revised log properly

invoked the privilege as to each of the listed documents. Two days prior to the parties’ scheduled

meet and confer on this issue, Defendants emailed to say that they were “in receipt of

approximately 50 additional documents provided by Chief Conforti,” needed time to review them

for privilege, and would produce another amended privilege log by the following Monday, May

16. Exhibit 4 (Email from Breslow to Stoughton, dated May 10, 2022). While expressing concern

about the belated disclosure of additional responsive documents, Plaintiffs agreed to postpone the

meet and confer until the updated privilege log was produced. Id. (Email from Stoughton to

Breslow, dated May 11, 2022).

       On May 17 – one day later than promised – Defendants produced a supplement to the April

19 privilege log, listing ten additional documents withheld in their entirety. Exhibit 5 (May 17

Conforti Privilege Log Supplement).

       Defendants appeared on May 26, 2022 for a meet and confer on the adequacy of the April

19 privilege log and its May 17 supplement.2 During that meeting, the parties agreed they had




2
  The length and attendees of this meet and confer are memorialized in Plaintiffs’ July 19, 2022 letter
seeking leave to file this motion. ECF 675.


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reached an impasse as to several documents.3 Those documents, which are now the subject of the

motion, include the following:4

            •   Documents 1, 4-5, 8-10, and 24: These documents consist of the final or near-final
                versions of the Conforti report (Documents 1 and 5) as well as draft portions that
                appear to contain non-privileged information that is not duplicative of the more
                complete drafts (Documents 4, 8-10 and 24);

            •   Document 26: The Power Point presentation delivered by Chief Conforti on
                September 29, 2020, summarizing his review;

            •   Document 2: Chief Conforti’s notes documenting a specific incident at one of the
                protests allegedly involving an emotionally disturbed person;

            •   Document 3: Emails relating to media inquiries from the New York Times, among
                other outlets; and

            •   Documents 31-32: Emails between Chief Conforti, Deputy Commissioner William
                Andrews, and Assistant Commissioner for Legal Matters Oleg Chernyavsky from
                the period in November 2020, months after the completion of the report and close
                in time to the NYPD’s final decision not to publish the Conforti report.

Despite the impasse as to these documents, Defendants agreed to amend the privilege log to

provide additional information to better enable Plaintiffs to assess the application of the privilege

as to these and other documents that, at that point, remained under discussion. Exhibit 4 (Email

from Stoughton to Breslow, dated May 26, 2022).




3
  During the May 26 meet and confer, Defendants also agreed to reassess the application of the privilege as
to several other documents, and on June 25, 2022 agreed to produce some of them, with redactions. Exhibit
4 (Email from Breslow to Stoughton dated June 25, 2022). Unfortunately, defendants have stated that they
are unable to produce those documents until July 25, 2022. Id. (Email from Riordan to Stoughton, dated
July 11, 2022). Because Plaintiffs have not received these documents, the scope of those redactions are not
the subject of this motion. However, Plaintiffs reserve the right to raise any issues relating to the scope of
Defendants’ redactions of these documents, once they are produced.
4
  The numbering in this list is based on Exhibit 2, the June 24 privilege log. Defendants changed the
numbering of the documents across the various versions of the Conforti privilege log produced, such that
references to these same documents in earlier versions or in some correspondence among the parties may
differ.


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         After some delay, on June 25, 2022, Defendants produced a fifth amended Conforti

privilege log. Exhibit 2.5 This was followed on June 29 with a supplemental affirmation from Chief

Conforti consisting of an index of the records he produced to NYPD Legal Bureau relating to his

review process. Exhibit 6 (Affirmation of Thomas Conforti (June 29, 2022) (hereinafter “Second

Conforti Aff.”).6 The June 24 Conforti Privilege Log provides representations that certain

documents not at issue in this motion – e.g, Documents 6, 11-23, 25, and 27-30 – do not contain

“any factual takeaways” or “any distinct factual information” other than factual information

duplicated in Conforti’s final drafts, or contain “solely draft recommendations.” See Exhibit 2 at

pp. 3, 5-12. Notably, Defendants do not (and presumably cannot) make such representations as to

the documents at issue in this motion.

                                                 Argument

    I.      Deliberative Process Is a Qualified Privilege that Must Give Way to Plaintiffs’ Greater
            Need for Records of the NYPD’s Only After-Action Review of the 2020 Racial Justice
            Protests.




5
  This fifth amended privilege log included yet more newly discovered responsive documents – including
five documents that informed Conforti’s review, as to which Defendants, for the first time, invoked the law
enforcement privilege - and also removed several documents previously listed, without explanation.
Defendants have agreed to meet and confer on this issue, as well as the issue of Defendants’ response an
interrogatory Plaintiffs served asking Defendants to identify all individuals involved in the decision to
abandon the Conforti report, after the July 25 production of redacted documents. Thus, these issues are not
the subject of the instant motion, but Plaintiffs reserve the right to move to compel on these issues at a later
date.
6
  Although it is not directly relevant to the substance of this motion, Plaintiffs wish to alert the Court that
Chief Conforti’s second affirmation states that he provided the records relevant to his review to the NYPD
Legal Bureau on April 14 and April 19, 2022 – days after the court conference on Plaintiffs’ motion seeking
a declaration that Defendants had waived the privilege as to these records. See Exhibit 6 at ¶ 2. This sworn
statement establishes that, contrary to any representations made in April 2022, Defendants did not work in
good faith to respond to Plaintiffs’ discovery demands or comply with the Federal and Local rules on
invocation of the privilege, as Defendants’ counsel did not even possess the records, let alone review them
for privilege, prior to preparing their first two privilege logs on this issue – or, indeed, at any point until
after Plaintiffs filed their motion and the Court ordered a “beefed up” privilege log on April 12. These
misrepresentations to the Court and Plaintiffs were not identified in the audit the Court ordered. See ECF
526.


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        The deliberative process privilege protects inter-agency and intra-agency documents only

when they are “predecisional” and deliberative. Tigue v. U.S. Dep’t. of Just., 312 F.3d 70, 76 (2d

Cir. 2002). Documents are “predecisional” when they are “prepared in order to assist an agency

decisionmaker in arriving at his decision.” Id. at 80 (quoting Grand Cent. P’ship, Inc. v. Cuomo,

166 F.3d 473, 482 (2d Cir. 1999)). Documents are deliberative when they are “actually . . . related

to the process by which policies are formulated.” Cuomo, 166 F.3d at 482 (quoting Hopkins v. U.S.

Dep't of Hous. & Urb. Dev., 929 F.2d 81, 84 (2d Cir. 1991)).

        Even if the disputed records satisfy the “deliberative” and “pre-decisional” criteria for

invocation of the privilege, that is not enough for the City to justify withholding them in full.

Deliberative process privilege is a qualified privilege subject that must yield to a party’s greater

need. Noel v. City of New York, 357 F. Supp. 3d 298, 303 (S.D.N.Y. 2019). When administering

this balancing test, the party invoking the privilege holds the burden of persuasion. MacNamara

v. City of New York, 249 F.R.D. 70, 80 (S.D.N.Y. 2008). The balancing factors are:

        (i) the relevance of the evidence sought to be protected; (ii) the availability of other
        evidence; (iii) the ‘seriousness’ of the litigation and the issues involved; (iv) the
        role of the government in the litigation; and (v) the possibility of future timidity by
        government employees who will be forced to recognize that their secrets are
        violable.

Noel, 357 F. Supp at 303.

        All of these factors weigh in favor of disclosure of the disputed records. As noted above,

the decision-making processes to create and abandon the report is the direct subject of this

litigation, making disclosure of otherwise privileged documents appropriate and necessary. See

Mitchell v. Fishbein, 227 F.R.D. 239, 250 (S.D.N.Y. 2005); Noel, 357 F. Supp at 303 n.2.

“Generally, in civil rights cases against police departments, it is unlikely that plaintiffs will be able

to obtain information of comparable quality from any other source.” Nat’l Cong. For Puerto Rican

Rts. ex rel. Perez v. City of New York, 194 F.R.D. 88, 96 (S.D.N.Y. 2000). That is the case here,


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especially as the Conforti review is the only internal review conducted by the NYPD and

deposition testimony coming two years after the fact and without the benefit of documents to

ground testimony and refresh recollections is unlikely to match the value of contemporaneous,

written documentation of the process. In civil rights cases, government defendants’ privilege

claims “must be extremely persuasive” because the government’s actions are so central to litigation

in the public interest. MacNamara, 249 F.R.D. at 80 (citing King v. Conde, 121 F.R.D. 180, 195

(E.D.N.Y. 1988)). That is especially so here, where the allegations of widespread police violence

targeting racial justice protesters has sparked dozens of lawsuits and a challenge from the Attorney

General. Keeping these records of the NYPD’s only after-action review of its protest response

completely hidden will fundamentally inhibit a full inquiry into the important questions of liability

at issue in these cases. As to the final factor – the risk of creating timidity within the NYPD –there

is no reason that targeted redactions or a protective order could not suffice to mitigate any risk. It

is also important to note that the NYPD already buried the Conforti review process, suggesting

that agency timidity about candid self-reflection is linked more to other factors than to the prospect

of disclosure in this litigation.

        In all these respects, this case is similar to MacNamara, where the court held that a

memorandum detailing a proposal for mass arrest processing during the 2004 RNC fell within the

deliberative process privilege, but that privilege was overcome after administering the balancing

test. Id. at 82. Facts tipping the court in favor of disclosure were: that “the intent and knowledge

of the NYPD officials” were “central to the plaintiffs’ claims;” that the information in the

memorandum could only be obtained from the defendants; and that disclosure would not pose a

substantial risk of chilling NYPD employees’ candor due to protective orders and the NYPD’s

“strong incentive . . . to fulfill their professional obligations [] to relay to their supervisors




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recommendations regarding operational policies.” Id. at 82-83. All of these factors are present in

this case with equal force and support the disclosure of the disputed documents.

    II.       In Camera Review and Production with Appropriate Redactions is Warranted Because
              the Disputed Documents Likely Contain Segregable Factual Information, Final
              Recommendations or Information Related to the Final Decision to Abandon the
              Conforti Report.

          Even if the deliberative process privilege does not yield in full to Plaintiffs’ higher interests,

disputed documents 1-5, 8-10, 24 and 26 should be produced because the June 24 privilege log

contains strong indications that they contain important, segregable factual material or other non-

privileged information describing the process the NYPD undertakes to perform after-action

reviews of major protest events – a subject that is directly at issue in this litigation.

          As an initial matter, Defendants’ assertion that all of the recommendations contained in the

draft Conforti materials are “pre-decisional” is belied by Chief Conforti’s statement that some of

his proposals – he provides an example relating to placing fire extinguishers in police vehicles –

were adopted “immediate[ly]” and “in real-time” as he reported back to Commissioner Shea on

his progress. Exhibit 1, ¶¶ 11-12. Because aspects of Chief Conforti’s personal recommendations

were, in fact, adopted, the report represents, at least in part, final agency decisionmaking; the fact

that the NYPD chose never to publish his report does not itself render its contents “pre-decisional.”

New York Times Co. v. United States Dep't of Just., 939 F.3d 479, 490 (2d Cir. 2019) (“[E]ven

when a document is, in fact, pre-decisional and non-binding at the time of its creation, it may over

time come to constitute the agency's ‘working law’ if … the agency ‘incorporates by reference’

the document into a final decision”); Nat’l Council of La Raza v. Dep’t of Just., 411 F.3d 350, 356-

57 (2d Cir. 2005) (holding that documents that would have been categorized as predecisional at

the time of preparation can lose that status when they are “adopted, formally or informally, as the

agency position on an issue.”) (quoting Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d



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854, 866 (D.C. Cir. 1980)). Therefore, at a minimum, portions of the report relating to

recommendations that were adopted should be produced.

       The deliberative process privilege also does not apply to “purely factual material.” Nat’l

Cong. for Puerto Rican Rts., 194 F.R.D. at 93 (quoting Hopkins 929 F.2d at 84). Defendants thus

must disclose “any reasonably segregable portion” of the allegedly privileged documents. U.S.

Fish & Wildlife Serv. v. Sierra Club, Inc., 141 S. Ct. 777, 789 n.5 (2021). Defendants must utilize

redactions to segregate such material from pre-decisional, non-final opinions and

recommendations and produce what it can. See Cuomo, 166 F.3d at 482 (“The privilege does not,

. . . as a general matter, cover ‘purely factual’ material.”) (quoting Hopkins, 929 F.2d at 85); E.B.

v. N.Y.C. Bd. of Educ., 233 F.R.D. 289, 292 (E.D.N.Y. 2005) (“[F]actual findings and conclusions,

as opposed to opinions and recommendations, are not protected.”) (internal quotation marks and

citation omitted).

       The First Conforti Affirmation establishes that the draft report itself – reflected in

Documents 1 and 5 – is based on a review of statistical information, including information

contained in records Defendants have withheld on the basis of law enforcement privilege, and

interviews with more than 100 members of service, most of whom Plaintiffs will never have the

opportunity to depose. Exhibit 1 ¶ ¶ 6-8. It is therefore almost certain to contain highly relevant

and possibly unique factual information about the protests at issue. Chief Conforti stated in his

affirmation that “to the extent that [he did take notes of his more than 100 interviews], they were

memorialized within the electronic working draft of the report, contemporaneous to each

interview.” Conforti Aff. ¶ 9. As a result, the draft report represents the only documentation of that

factual material and is not privileged. Cf., Abdell v. City of New York, No. 05 CIV. 8453 KMK




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JCF, 2006 WL 2664313, at *7 (S.D.N.Y. Sept. 14, 2006) (holding that witness statements in

interview notes are not protected by attorney work product).

       Moreover, in their June 25 privilege log, Defendants indicated where documents do not

contain any factual information (or, at least, any factual information not duplicated by other

disputed documents). See Exhibit 2 at pp. 3, 5-12 (Documents 6, 11-23, 25, and 27-30). Notably,

they do not make any such claim as to the documents that are subject to this motion. The references

to documents that contain factual information “duplicative” of that in the disputed records

implicitly affirm that those records contain factual information. Id.

       Beyond the full draft reports, the privilege log entries for certain parts of the drafts at issue

in this motion – namely documents 4, 8-10 and 24 – contain affirmative indications that they are

primarily factual in nature. Document 4 is titled “Notes – CJB,” presumably referring to the role

of the Criminal Justice Bureau, which managed mass arrest processing centers during the protests.

While Document 4 may contain, in part, Chief Conforti’s “personal thoughts and ideas,” it also is

likely to contain information about the decisions made by the CJB that are directly relevant to

questions of municipal liability in this case, among other matters. Document 8 is titled “De-arrest”

and is described as relating information the NYPD assembled about its allegations that protesters

deliberately acted “to intervene in law enforcement arrests” – a claim that both Defendants and the

Union Intervenors are likely to press in their defense and for which Plaintiffs are entitled to test

the evidentiary basis. Document 9 is titled “Over this period” – an opening that strongly suggests

a factual description of specific events -- and is not described as containing only Chief Conforti’s

opinions. Document 10 is titled “The Intelligence Bureau is the primary source…,” again an

opening that suggests a factual recitation of the role of the Intelligence Bureau in developing the

NYPD’s response to the protests. Finally, Document 24 is titled “Technology played an important




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role,” suggesting material explaining how the NYPD used technology during the protests – a

factual issue and one about which very little discovery material has been produced to date.

       In these privilege log entries and in the parties’ meet and confers, Defendants have declined

to provide any information to suggest that any of Chief Conforti’s proposed and rejected policy or

procedure changes cannot be segregated (and redacted) from the factual material and information

about those of his proposals that were adopted. The test for whether factual information is

segregable from an otherwise privileged document is whether the factual information “too

intertwined with evaluative and policy discussions.” Tigue, 312 F.3d at 82. Factual segments of

otherwise privileged documents are “inextricably intertwined” with privileged information when

disclosure of the factual information would “compromise the confidentiality of deliberative

information,” Hopkins, 929 F.2d at 85 (quoting Env't Prot. Agency v. Mink, 410 U.S. 73, 92

(1973)), or when disclosure would “expose an agency’s decisionmaking process in such a way . .

. [that] undermine[s] the agency’s ability to perform its functions.” Color of Change v. U. S. Dep't

of Homeland Sec., 325 F. Supp. 3d 447, 455 (S.D.N.Y. 2018) (quoting Dudman Commc'ns Corp.

v. Dep't of Air Force, 815 F.2d 1565, 1568 (D.C. Cir. 1987)).

       Defendants have not provided any reason to believe that disclosing the non-privileged

portions of these records would be impossible or would compromise the protection of truly

deliberative material. Indeed, Defendants have provided no basis for distinguishing the disputed

records from other records Defendants have agreed to produce with redactions. The absence of a

record sufficient to establish lack of segregability warrants, at a minimum, the Court’s review of

the records. See Hopkins, 929 F.2d at 85-86 and 89 (holding that because the district court did not

initially consider if factual data could be segregated, and because the defendant – HUD – only

made a conclusory assertion that factual information was intertwined with privileged opinions, the




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Second Circuit remanded the issue back to the district court to conduct an in camera review to

determine if the information could be segregated).

       “In camera review is particularly encouraged in cases invoking governmental claims of

privilege.” MacNamara, 249 F.R.D. at 75 n.2 (quoting Borchers v. Com. Union Assur. Co., 874 F.

Supp. 78, 79 (S.D.N.Y. 1995)). The Supreme Court has “long held the view that in camera review

is a highly appropriate and useful means of dealing with claims of governmental privilege.” Kerr

v. U. S. Dist. Ct. for N. Dist. of Cal., 426 U.S. 394, 405-06 (1976).

       Beyond the above-described records, the Court should review and order the production of

Documents 31 and 32. These records represent emails between Chief Conforti, Deputy

Commissioner William Andrews and Assistant Deputy Commissioner for Legal Matters Oleg

Chernyavsky from November 2020—long after the completion of the draft Conforti report and

closer in time to the final decision near the end of 2020 to abandon the report. These records

presently represent the only possible documentation of the final agency decision to abandon the

report – an issue that is directly relevant to Plaintiffs’ claims that the NYPD does not take seriously

its obligation to review and respond to its own malfeasance. As a matter of law, this decision is

final, and thus not subject to the deliberative process privilege. See N.L.R.B. v. Sears, Roebuck &

Co., 421 U.S. 132, 148 (1975) (holding that memoranda explaining decisions by the NLRB not to

file unfair labor practice complaints were final decisions). While not every memoranda or

communication relating to that final decision may be disclosable, at a mimumum, in camera

review is necessary to examine whether these communications by high-level NYPD officials, who

likely were involved in that decision, reveal final decisionmaking and reasoning. Cf. Wood v. F.B.I,

432 F.3d 78, 81-85 (2d Cir. 2005) (holding that a DOJ decision not to initiate a prosecution is a




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final decision, but declining to order production of a subordinate memoranda relating to that

decision absent evidence that its reasoning was incorporated into that final decision).

                                             Conclusion

       For the foregoing reasons, the Court should review the disputed documents in camera and

order their release with redactions, if appropriate.




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